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SOUTHERN DISTRICT OF NEW YORK DATE FILED: _ 8/24/2021

UNITED STATES DISTRICT COURT

DAVID FLOYD, et. al., STIPULATION OF
SETTLEMENT AND ORDER
Plaintiffs, FOR COUNSEL FEES, COSTS,
ainst AND EXPENSES TO CLASS
—— COUNSEL FOR TIME AND
. EXPENSES INCURRED IN THIS
T l
HE CITY OF NEW YORK, et. al., MATTER FROM JUNE 1, 2019
THROUGH JUNE 6, 2020

Defendants.
08 CV 1034 (AT)

Xx

WHEREAS, on January 31, 2008, Plaintiffs in the above-captioned action filed a
Complaint pursuant to 42 U.S.C. § 1983; the Fourth and Fourteenth Amendments to the United
States Constitution; the Constitution and laws of the State of New York; and

WHEREAS, on August 12, 2013, the Court imposed a final order of permanent
injunction and ordered several forms of permanent relief; and

WHEREAS, on October 31, 2014, the United States Court of Appeals for the Second
Circuit affirmed the District Court’s Opinion of July 30, 2014 denying the police unions motion
to intervene, granted the City of New York’s motion to withdraw the appeal of this matter with
prejudice, and remanded this case back to the District Court for further proceedings as may be
appropriate in the circumstances; and

WHEREAS, the Parties sought to resolve the issue of counsel fees, costs and expenses,
without further litigation, on terms just and fair to all Parties and entered into the Stipulation of
Settlement of Counsel Fees, Costs and Expenses and Order, which was extensively and
vigorously negotiated in good faith, over a period of several months, and so ordered by the Court

on January 24, 2017 (“Main Fee Stipulation”); and
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WHEREAS, by Motion to Withdraw as Counsel dated February 20, 2019, Jenn Rolnick
Borchetta and The Bronx Defenders withdrew as counsel for Plaintiffs in this matter. By Court
Order dated February 20, 2019, that Motion was granted; and

WHEREAS, the Defendants and the Plaintiffs agree that, having obtained the above-
described relief, pursuant to Section D of the Main Fee Stipulation, Plaintiffs are entitled to an
award of reasonable attorneys’ fees, costs and expenses to Class Counsel for time and expenses
incurred in this matter, from June 1, 2019 through June 6, 2020, and

WHEREAS, the negotiations have resulted in this fee stipulation (“Fourth Interim Fee
Stipulation”), which is subject to Court Approval, settles the counsel fees, costs and expenses in
this action, in the manner and upon the terms set forth below, for time and expenses incurred in
this matter, from June 1, 2019 through June 6, 2020.

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and
between the undersigned, as follows:

A, DEFINITIONS

if “Main Fee Stipulation” shall mean the Stipulation of Settlement of Counsel Fees,
Costs and Expenses and Order, executed by the Parties in the above-captioned action, which was
so ordered by the Court on January 24, 2017.

2. “Fourth Interim Fee Stipulation” shall mean this Stipulation of Settlement and
Order for Counsel Fees, Costs and Expenses to Class Counsel for Time and Expenses Incurred in
This Matter from June 1, 2019 through June 6, 2020, executed by the Parties in the above-
captioned action in accordance with Section D of the Main Fee Stipulation.

3. “Effective Date” shall mean (30) thirty days following the “Final Approval Date”
defined below, and shall also be the date upon which this Fourth Interim Fee Stipulation enters

into effect.
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4, “Final Approval Date” shall mean the date on which this Court endorses this
Fourth Interim Fee Stipulation and following any court proceedings and/or rulings, if applicable,

in connection with the approval of this Fee Stipulation.

5. “Plaintiffs” shall mean the Class Representatives and Class Members.

6. “Parties” shall mean Plaintiffs and Defendants,

i “Class Representatives” shall mean the Named Plaintiffs in the above captioned
action.

8. “Settlement Class” shall mean the class of Plaintiffs agreed upon by the Parties.

9. “Class Members” shall mean all members of the Settlement Class.

10. “Class Counsel” shall mean Plaintiffs’ attorneys of record in the above-captioned
action between June 1, 2019 and June 6, 2020, including Beldock Levine & Hoffman LLP,
Center for Constitutional Rights, and Covington & Burling LLPe and=Corey—Cevmtan—te
Burling bers OM

11. “Defendants” shall mean the City of New York, the New York City Police
Department, and their predecessors, successors, of assignees together with past, present and
future officials, employees, representatives, and agents.

12. “City” shall mean the City of New York.

B. INTRODUCTION

1, The Parties enter into this Fourth Interim Fee Stipulation after arm’s length good
faith negotiations for the purpose of avoiding the burdens of further litigation over the payment
of counsel fees, costs and expenses to Class Counsel for time and expenses incurred in this

action, from June 1, 2019 through June 6, 2020.
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2 This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1343.
Venue is proper in the United States District Court for the Southern District of New York
pursuant to 28 U.S.C. § 1391.

C, COUNSEL FEES, COSTS AND EXPENSES
FROM JUNE 1, 2019 THROUGH 0

I The City agrees to pay attorneys’ tees, costs, and expenses, totaling one-million,
six-hundred and eight thousand, six hundred and fifteen dollars and forty-nine cents
($1,608,615.49) to Class Counsel for time and expenses incurred in this matter, June 1, 2019
through June 6, 2020. Class Counsel represent that they are authorized to receive payment on
behalf of the Plaintiffs in full satisfaction of all claims for attorneys’ fees, costs, and expenses in,
arising from, or in connection with this action, from June 1, 2019 through June 6, 2020.
Plaintiffs hereby agree that payment shall be made by check as follows: $1,032,615.49 to
Beldock Levine & Hoffman LLP (which includes $8,615.49 in costs and expenses), $256,000.00
to Jonathan C, Moore, Esq., and $320,000.00 to the Center for Constitutional Rights, and accept
said payment in full satisfaction of all claims for attorneys’ fees, costs, and expenses, in, arising
from, or in connection with this action, during that time period.

2. Class Counsel represents that Covington & Burling LLP and-CoreyCovingten& gu
Byusline=bEP have not sought any attorneys’ fees, costs or expenses in, arising from, or in
connection with this action, from June 1, 2019 through June 6, 2020. By virtue of the Court’s
Order dated February 20, 2019, granting Jenn Rolnick Borchetta’s and The Bronx Defenders’
Motion to Withdraw as Counsel, they no longer seck attorneys’ fees, costs or expenses in, arising
from, or in connection with this action.

3. These three (3) payments shall be made within (60) sixty days from the Effective

Date of this Stipulation and Order. No interest shall accrue if payment is issued within 60 days
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from the Effective Date of this Stipulation and Order. Any payment received beyond the 60 day
period shall accrue interest as provided by the Federal Rules of Civil Procedure.

4, This Fourth Interim Fee Stipulation may be executed in one or more counterparts,
each of which shall be deemed an original, but all of which together shall constitute one and the
same instrument.

D. RELEASE

L This Fourth Interim Fee Stipulation resolves all claims for attorneys’ fees, costs,
and expenses to Class Counsel incurred for time and expenses in this matter from June 1, 2019
through June 6, 2020, in accordance with the provisions of the Main Fee Stipulation, as set forth
in Section D therein.

a Class Counsel, having been assigned the rights to attorneys’ fees, costs, and
expenses by Plaintiffs, hereby agree and represent that no other claims for attorneys’ fees,
expenses, or costs arising out of this action, for time and expenses incurred by Class Counsel in
this matter, from June 1, 2019 through June 6, 2020, shall be made by or on behalf of Class
Counsel or Plaintiffs in any application for attorneys’ fees, expenses, or costs at any time,

3, This Fourth Interim Fee Stipulation shall not be admissible in, nor is it related to,
any other litigation or settlement negotiations outside of the above-captioned action, except to
enforce the terms of this agreement.

4, This Fourth Interim Fee Stipulation contains all the terms and conditions agreed
upon by counsel for the Defendants and the Plaintiffs hereto, and no oral agreement entered into
at any time nor any written agreement entered into prior to the execution of this Fourth Interim
Fee Stipulation regarding the subject matter of attorneys’ fees, expenses, or costs to Class
Counsel for time and expenses incurred in this matter, from June 1, 2019 through June 6, 2020,

shall be deemed to exist, or to bind the Parties hereto, or to vary the terms and conditions
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contained herein, except that this Fourth Interim Fee Stipulation shall be interpreted in a manner
consistent with the previously-executed Main Fee Stipulation.

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E. NULLIFICATION
1. In the event the Court does not approve this Fourth Interim Fee Stipulation, the
Parties shall meet and confer in good faith to determine whether to agree upon a modified Fourth
Interim Fee Stipulation. If they are unable to do so, this Fourth Interim Fee Stipulation shall
become null and void.

Dated: New York, New York
August ZO , 2021

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Attorney for Plaintiffs

Flo A Dum [be

COVINGTON & BURLING/.LP
By: Philip Irwin
620 Eighth Avenue
New York, New York 10018 SO ORDERED.
Tel. (212) 841-1000
Attorney for Plaintiffs Dated: August 24, 2021
New York, New York

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ANALISA TORRES
United States District Judge
